                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF IOWA
                                (Eastern Division--Waterloo)



HANNAH JESSKI, as Executrix and            Case No. 6:19-cv-02070
Personal Representative of the Estate of
DIXIE BLAZIER, deceased

       And

GLENDA MUNDIS AND ROBERT                   COMPLAINT AND JURY DEMAND
MUNDIS, husband and wife

              Plaintiffs,

       v.

DAKOTA, MINNESOTA & EASTERN
RAILROAD CORPORATION

       And

DAKOTA, MINNESOTA & EASTERN
RAILROAD CORPORATION d/b/a
CANADIAN PACIFIC

       And

CANADIAN PACIFIC (U.S.), INC.

       And

CANADIAN PACIFIC RAILWAY
COMPANY

              Defendants.

                                     COMPLAINT




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        1.     This wrongful death and negligence action arises from a train and vehicle

collision that occurred on December 1, 2017, at railway crossing 385-463L, near Nora Springs,

Iowa.

                                               Parties

        2.     Decedent, Dixie Blazier (“Ms. Blazier”), was the front seat passenger in the vehicle

at the time of the collision, and died as a result of the carelessness and recklessness of Defendants.

        3.     Plaintiff, Hannah Jesski (“Ms. Jesski”), is the daughter of Ms. Blazier, deceased,

and is the Administratrix of the Estate of Dixie Blazier.

        4.     Ms. Jesski is an adult individual who resides in Harvard, Illinois.

        5.     Ms. Blazier is survived by her three daughters, Plaintiff, Hannah Jesski, Carla Sipe

and Jessica Sugalski.

        6.     Plaintiff, Glenda Mundis (“Ms. Mundis”), was the backseat passenger in the vehicle

at the time of the collision and suffered catastrophic and permanent injuries as a result of the

carelessness and recklessness of Defendants.

        7.     Ms. Blazier and Ms. Mundis were sisters.

        8.     Ms. Mundis and her husband, Robert Mundis, are adult individuals who reside in

Harvard, Illinois.

        9.     Defendant, Dakota, Minnesota & Eastern Railroad Corporation (“DM&E”), is a

corporation or other legal entity existing under the laws of Delaware, with its principal place of

business located in Minneapolis, Minnesota.

        10.    Defendant, Dakota, Minnesota & Eastern Railroad Corporation d/b/a Canadian

Pacific, is a corporation or other legal entity existing under the laws of Delaware, with its principal

place of business located in Minneapolis, Minnesota.



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        11.     Defendant, Canadian Pacific (U.S.), Inc., is a corporation or other legal entity

existing under the laws of Delaware, with its principal place of business located in Minneapolis,

Minnesota.

        12.     Defendant, Canadian Pacific Railway Company, is a corporation or other legal

entity organized and existing under the laws of Canada, with its principal place of business located

in Calgary, AB, Canada.

        13.     For the purposes of this Complaint, Defendants, Dakota, Minnesota & Eastern

Railroad Corporation d/b/a Canadian Pacific, Canadian Pacific (U.S.), Inc. and Canadian Pacific

Railway Company, shall be collectively referred to as “Canadian Pacific.”

        14.     At all times material hereto, DM&E and Canadian Pacific, by and through its

railroad interests, has carried out, and continues to carry out, substantial, continuous and systematic

activities in Iowa and has purposely established significant contacts within Iowa.

        15.     At all times material hereto, DM&E and Canadian Pacific acted by and through its

respective agents, servants, workmen and employees, who were acting within the scope of their

authority and employment.

                                      Jurisdiction and Venue

        16.     This Court has subject matter jurisdiction over Plaintiffs’ action pursuant to U.S.C.

§ 1332(a) as the amount in controversy exceeds the jurisdictional threshold, exclusive of costs, is

between citizens of different states, and because the Defendants each have certain minimum

contacts with the State of Iowa such that the maintenance of the suit in this district does not offend

traditional notions of fair play and substantial justice.

        17.     Venue is proper in the United States District Court Northern District of Iowa

(Eastern Division-Waterloo) pursuant to U.S.C. § 1391 as the events giving rise to this claim



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occurred in and around railway crossing 385-463L in Floyd County, Iowa, near Nora Springs,

Iowa.

        18.    Upon information and belief, at all times material hereto, DM&E and/or Canadian

Pacific was the owner, operator, maintainer, possessor, lessor, controller and/or otherwise

responsible for the care and control of the area at and/or around railway crossing 385-463L, near

Nora Springs, Iowa, including the train control bungalow located at the railway crossing.

        19.    At all times material hereto, DM&E and/or Canadian Pacific was the owner,

operator, maintainer, possessor, lessor, controller and/or otherwise responsible for the care and

control of the locomotive involved in the accident.

        20.    At all times material hereto, DM&E and Canadian Pacific was acting by and

through its employees, servants, agents, workmen, and/or staff, all of whom were acting within

the course and scope of their employment, for and on behalf of DM&E and/or Canadian Pacific.

                                              Facts

        21.    On December 1, 2017, at approximately 11:54 a.m., Ms. Blazier was the front seat

passenger and Ms. Mundis was the back seat passenger in a vehicle travelling northbound on

Zinnia Avenue in Nora Springs, Floyd County, Iowa. Ms. Blazier’s husband, James Blazier (“Mr.

Blazier”), was operating the vehicle (the “Blazier Vehicle”).

        22.    At that time, a single DM&E and/or Canadian Pacific locomotive (#6236) (the

“Canadian Pacific locomotive”) was travelling westbound towards railway crossing 385-463L.

        23.    The Canadian Pacific locomotive was being operated by Engineer Mel Fransdal

and Assistant Engineer Jared Ball.




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           24.   Upon information and belief, at all times material hereto, Messrs. Fransdal and Ball

were under the direction and control of DM&E and/or Canadian Pacific while operating the

Canadian Pacific locomotive.

           25.   As the Blazier vehicle crossed railway crossing 385-463L, it was suddenly and

without warning violently struck on the front passenger side by the Canadian Pacific locomotive.

           26.   As a result of the collision, Ms. Blazier sustained excruciating and devastating

injuries to her body, which ultimately caused her untimely death.

           27.   Ms. Blazier was 66 years old at the time of her death.

           28.   As a result of the collision, Ms. Mundis sustained catastrophic, disabling and

permanent injuries, and had to be life-flighted for emergency medical treatment.

           29.   Mr. Blazier was also killed in the accident.

           30.   The extreme force of the impact of the Canadian Pacific locomotive caused the

Blazier vehicle to be dragged by the locomotive several hundred feet before the vehicle’s front end

became stuck in the dirt alongside the tracks, which caused the vehicle to flip end over end onto

its top:




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       31.    The Blazier vehicle was completed destroyed by the collision:




       32.    At the time of the accident, railway crossing 385-463L lacked crossing gates.

       33.    As a result of DM&E’s and/or Canadian Pacific’s carelessness, negligence, gross

negligence, recklessness and/or other liability-producing conduct, Ms. Blazier suffered serious,

severe and disabling injuries including but not limited to, her death resulting from excruciating


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impact trauma, mental and emotional pain and suffering, physical pain, suffering and loss of life’s

pleasures, past, present and future, hospital and medical expenses, loss of accumulation to the

estate, and other damages, the full extent of which is yet to be determined.

       34.     As a result of DM&E’s and/or Canadian Pacific’s carelessness, negligence, gross

negligence, recklessness and/or other liability-producing conduct, which resulted in the death of

Ms. Blazier, her children have in the past and will in the future continue to suffer great pecuniary

loss, including, but not limited to, loss of support, loss of aid, loss of services, loss of

companionship, loss of consortium and comfort, loss of counseling and loss of guidance and

tutelage.

       35.     As a result of DM&E’s and/or Canadian Pacific’s carelessness, negligence, gross

negligence, recklessness and/or other liability-producing conduct, Ms. Jesski claims all damages

suffered by the Estate by reason of the death of Ms. Blazier, including, without limiting the

generality thereof, the following: (i) the severe and catastrophic injuries to Ms. Blazier, which

resulted in her death; (ii) the anxiety, horror, fear of impending death, mental disturbance, pain,

suffering and other intangible losses which Ms. Blazier suffered prior to her death; (iii) the loss of

accumulation to the estate suffered by Ms. Blazier from the date of her death until the time in the

future that she would have lived had she not died as a result of the injuries she sustained; and (iv)

the loss and the total limitation and deprivation of her normal activities, pursuits and pleasures

from the date of her death until such time in the future as she would have lived had she not died as

a result of the injuries sustained by reason of the carelessness, negligence, gross negligence,

recklessness and/or other liability-producing conduct of DM&E and/or Canadian Pacific.

       36.     As a result of DM&E’s and/or Canadian Pacific’s carelessness, negligence, gross

negligence, recklessness and/or other liability-producing conduct, Ms. Mundis suffered



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catastrophic, disabling and permanent injuries, including, but not limited to, (i) clavicle fracture;

(ii) C7 lateral mass fracture; (iii) four (4) fractured ribs; (iv) T1 and T2 transverse process fracture;

(v) wrist, hand and finger fractures; (vi) acetabular fracture; (vii) dislocated hip; (viii) lacerations

to her face; (ix) post-traumatic stress disorder; (x) major depressive disorder, and other orthopedic,

neurological and psychological injuries, the full extent of which have yet to be determined. Ms.

Mundis has required and continues to require medical treatment, including surgeries and other

treatment and therapies.

        37.     As a further result of DM&E’s and/or Canadian Pacific’s carelessness, negligence,

gross negligence and other liability-producing conduct, Ms. Mundis suffered a loss of her earnings

and/or earning capacity and/or power, incurred expenses for medical attention and care and will

continue to incur said losses and expenses in the future, all to her great financial damage and loss.

        38.     As a further result of DM&E’s and/or Canadian Pacific’s carelessness, negligence,

gross negligence and other liability-producing conduct, Ms. Mundis has suffered in the past and/or

will continue to suffer in the future aches, pains, mental anguish, humiliation, disfigurement,

limitations and/or restrictions from her usual activities, pursuits and/or pleasures.           She has

sustained a loss of the enjoyment of life, life’s pleasures and life's hedonic pleasures past, present

and future.

        39.     Ms. Mundis avers that her injuries and damages were caused solely by the acts of

DM&E and/or Canadian Pacific jointly and/or individually and/or through their joint and

individual agents, servants, workmen and/or employees as hereinbefore and hereinafter set forth

and not through any act or omission on her part.




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                         COUNT I – NEGLIGENCE
    HANNAH JESSKI, as Executrix and Personal Representative of the Estate of
  DIXIE BLAZIER, deceased v. DAKOTA, MINNESOTA & EASTERN RAILROAD
CORPORATION, DAKOTA, MINNESOTA & EASTERN RAILROAD CORPORATION
       d/b/a CANADIAN PACIFIC, CANADIAN PACIFIC (U.S.), INC. and
                CANADIAN PACIFIC RAILWAY COMPANY

       40.     Plaintiffs incorporate the allegations contained in the preceding paragraphs as

though fully set forth at length herein.

       41.     DM&E and/or Canadian Pacific was the owner, operator, maintainer, possessor,

lessor, controller and/or otherwise responsible for the care and control of the locomotive involved

in the accident, including the engineers operating the locomotive at the time of the accident.

       42.     DM&E and/or Canadian Pacific had a duty to repair, maintain, correct, inspect and

otherwise be responsible for the area at and/or around railway crossing 385-463L.

       43.     DM&E and/or Canadian Pacific had a duty to repair, maintain, correct, inspect

and/or otherwise be responsible for the locomotive involved in Ms. Blazier’s accident.

       44.     DM&E and/or Canadian Pacific had a duty to hire, train and/or retain competent

personnel to operate its locomotives, including the locomotive included in Ms. Blazier’s accident.

       45.     At all times material hereto, DM&E and/or Canadian Pacific was responsible for

the care, custody and/or control of the real property at and/or around railway crossing 385-463L

and to ensure that the area at and/or around railway crossing 385-463L was safe for use by invitees,

independent contractors, guests, licensees and/or members of the public, including Ms. Blazier.

       46.     Upon information and belief, DM&E and/or Canadian Pacific owns and/or controls

the train control bungalow at the railway crossing where the accident occurred.

       47.     Upon information and belief, DM&E and/or Canadian Pacific controlled and/or

maintained the train route, the tracks, switches and signal systems on the tracks.




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        48.     Upon information and belief, DM&E and/or Canadian Pacific handled the

dispatching of all trains at the tracks in question.

        49.     DM&E and/or Canadian Pacific had a duty to individuals, including Ms. Blazier,

at or near the area at and/or around railway crossing 385-463L to provide a safe and hazardous-

free environment to drive and traverse.

        50.     DM&E and/or Canadian Pacific, by and through its agents, servants and/or

employees, caused the injuries and damages sustained by Ms. Blazier and acted carelessly,

negligently, grossly negligently and/or recklessly through the following actions and/or inactions:

                a.      Failure to provide a reasonably safe railroad track;

                b.      Failing to maintain and/or repair the railroad tracks and/or track system;

                c.      Failing to have properly trained personnel inspect the condition of the
                        railroad tracks and/or track system;

                d.      Failing to properly inspect the railroad tracks and/or track system;

                e.      Failing to perform required inspections of tracks/track system/switch
                        question;

                f.      Failure to implement proper precautions to prevent the accident leading to
                        the injuries sustained by Ms. Blazier;

                g.      Failing to properly and safely manage and supervise its railroad operations.

                h.      failing to hire qualified workers to operate the subject railway train in a safe
                        manner;

                i.      failing to ensure workers operating the subject railway train were properly
                        and adequately trained in accordance with applicable laws and standards;

                j.      failing to take due note of the point and position of Plaintiffs at or near the
                        railway grade crossing;

                k.      failing to provide any audible warnings of any kind;

                l.      failing to yield the right of way;



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               m.      Failing to adequately train the operator and crew on the train;

               n.      Hiring an incompetent operator, engineer and/or crew to operate the train;

               o.      Failing to have properly trained personnel inspect the condition of the
                       train’s control system;

               p.      Failing to have properly trained personnel inspect the condition of the
                       railroad’s train-control system

               q.      Failing to comply with the Rail Safety Improvement Act (RSIA); and

               r.      Failing to comply with the Federal Locomotive Inspection Act.

       51.     Ms. Blazier’s injuries were within the scope of foreseeable injuries that could occur

from the aforesaid acts of negligence.

       52.     One or more of the aforesaid acts of negligence was a cause of Ms. Blazier’s injuries

and death.

       WHEREFORE, Plaintiff, Hannah Jesski, as Executrix and Personal Representative of the

Estate of Dixie Blazier, deceased, requests that the Court enter judgment against Defendants in an

amount that will fully and fairly compensate the Estate of Dixie Blazier for its damages and her

children for their losses, and for costs as allowed by law.

                      COUNT II – NEGLIGENCE
    GLENDA MUNDIS v. DAKOTA, MINNESOTA & EASTERN RAILROAD
CORPORATION, DAKOTA, MINNESOTA & EASTERN RAILROAD CORPORATION
      d/b/a CANADIAN PACIFIC, CANADIAN PACIFIC (U.S.), INC. and
               CANADIAN PACIFIC RAILWAY COMPANY

       53.     Plaintiffs incorporate the allegations contained in the preceding paragraphs as

though fully set forth at length herein.

       54.     DM&E and/or Canadian Pacific was the owner, operator, maintainer, possessor,

lessor, controller and/or otherwise responsible for the care and control of the locomotive involved

in the accident, including the engineers operating the locomotive at the time of the accident.



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        55.     DM&E and/or Canadian Pacific had a duty to repair, maintain, correct, inspect and

otherwise be responsible for the area at and/or around railway crossing 385-463L.

        56.     DM&E and/or Canadian Pacific had a duty to repair, maintain, correct, inspect

and/or otherwise be responsible for the locomotive involved in Ms. Mundis’s accident.

        57.     DM&E and/or Canadian Pacific had a duty to hire, train and/or retain competent

personnel to operate its locomotives, including the locomotive included in Ms. Mundis’s accident.

        58.     At all times material hereto, DM&E and/or Canadian Pacific was responsible for

the care, custody and/or control of the real property at and/or around railway crossing 385-463L

and to ensure that the area at and/or around railway crossing 385-463L was safe for use by invitees,

independent contractors, guests, licensees and/or members of the public, including Ms. Mundis.

        59.     Upon information and belief, DM&E and/or Canadian Pacific owns and/or controls

the train control bungalow at the railway crossing where the accident occurred.

        60.     Upon information and belief, DM&E and/or Canadian Pacific controlled and/or

maintained the train route, the tracks, switches and signal systems on the tracks.

        61.     Upon information and belief, DM&E and/or Canadian Pacific handled the

dispatching of all trains at the tracks in question.

        62.     DM&E and/or Canadian Pacific had a duty to individuals, including Ms. Mundis,

at or near the area at and/or around railway crossing 385-463L to provide a safe and hazardous-

free environment to drive and traverse.

        63.     DM&E and/or Canadian Pacific, by and through its agents, servants and/or

employees, caused the injuries and damages sustained by Ms. Mundis and acted carelessly,

negligently, grossly negligently and/or recklessly through the following actions and/or inactions:

                a.      Failure to provide a reasonably safe railroad track;



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               b.     Failing to maintain and/or repair the railroad tracks and/or track system;

               c.     Failing to have properly trained personnel inspect the condition of the
                      railroad tracks and/or track system;

               d.     Failing to properly inspect the railroad tracks and/or track system;

               e.     Failing to perform required inspections of tracks/track system/switch
                      question;

               f.     Failure to implement proper precautions to prevent the accident leading to
                      the injuries sustained by Ms. Blazier;

               g.     Failing to properly and safely manage and supervise its railroad operations.

               h.     failing to hire qualified workers to operate the subject railway train in a safe
                      manner;

               i.     failing to ensure workers operating the subject railway train were properly
                      and adequately trained in accordance with applicable laws and standards;

               j.     failing to take due note of the point and position of Plaintiffs at or near the
                      railway grade crossing;

               k.     failing to provide any audible warnings of any kind;

               l.     failing to yield the right of way;

               m.     Failing to adequately train the operator and crew on the train;

               n.     Hiring an incompetent operator, engineer and/or crew to operate the train;

               o.     Failing to have properly trained personnel inspect the condition of the
                      train’s control system;

               p.     Failing to have properly trained personnel inspect the condition of the
                      railroad’s train-control system;

               q.     Failing to comply with the Rail Safety Improvement Act (RSIA); and

               r.     Failing to comply with the Federal Locomotive Inspection Act.

       64.     Ms. Mundis’s injuries were within the scope of foreseeable injuries that could occur

from the aforesaid acts of negligence.



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       65.     One or more of the aforesaid acts of negligence was a cause of Ms. Mundi’s

catastrophic and permanent injuries.

       WHEREFORE, Plaintiff, Glenda Mundis, requests that the Court enter judgment against

Defendants in an amount that will fully and fairly compensate her for her damages and for costs

as allowed by law.

                  COUNT III – LOSS OF CONSORTIUM
    ROBERT MUNDIS v. DAKOTA, MINNESOTA & EASTERN RAILROAD
CORPORATION, DAKOTA, MINNESOTA & EASTERN RAILROAD CORPORATION
      d/b/a CANADIAN PACIFIC, CANADIAN PACIFIC (U.S.), INC. and
               CANADIAN PACIFIC RAILWAY COMPANY

       66.     Plaintiffs incorporate the allegations contained in the preceding paragraphs as

though fully set forth at length herein.

       67.     At all times material hereto, Plaintiff, Robert Mundis, was/is the husband of

Plaintiff, Glenda Mundis, and, as such, is entitled to his society companionship and services.

       68.     By reason of the DM&E’s and/or Canadian Pacific’s carelessness, negligence,

gross negligence and other liability-producing conduct, Mr. Mundis has suffered the following

damages:

               a.      He has suffered the loss of consortium and has been deprived of his wife’s
                       love, companionship, comfort, affection, society, moral guidance,
                       intellectual strength and physical assistance; and

               b.      He has been and will be required to expend large sums of money for his
                       wife’s medical care and attendant services.

       WHEREFORE, Plaintiff, Robert Mundis, requests that the Court enter judgment against

Defendants in an amount that will fully and fairly compensate him for his damages and for costs

as allowed by law.


                                           JURY DEMAND

               Plaintiffs request trial of this matter before a jury.
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